     Case 1:16-cv-02145-JEJ-MCC Document 60 Filed 08/01/17 Page 1 of 22



              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE ELLEN                  :
BARTELS AND FREDERICK L. BARTELS, JR.,                  :
Individually and as Administrators of the Estate of     :
Abrielle Kira Bartels, Deceased,                        : C.A. NO.: 1:16-cv-2145-
                                          Plaintiffs,   : CCC
                         vs.                            :
                                                        :
THE MILTON HERSHEY SCHOOL, et al.                       :
                                                        :
                                         Defendants.    :
                                                        :
                                                        :

                                     ORDER

      AND NOW, this ______day of _____________, 2017, upon consideration

of Defendants’ Motion to Compel Compliance with Deposition Subpoena and for

Sanctions, and any response thereto, it is hereby ORDERED that the Motion is

GRANTED. It is FURTHER ORDERED that:

      1.     Protect the Hershey’s Children, Inc. is ORDERED to produce F.

Frederic Fouad as the organization’s corporate designee, to be deposed on the

topics previously delineated in the Notice of Deposition on a mutually agreed upon

date at a place within the Middle District that is within 100 miles of F. Frederic

Fouad’s residence pursuant to Rule 45.

      2.     Protect the Hershey’s Children, Inc., F. Frederic Fouad, Royer Cooper

Cohen Braundfeld, LLC, and Alexander J. Nassar, Esq. are ORDERED to pay the
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costs and fees associated with this filing, as well as the costs and fees associated

with the July 13, 2017 deposition of Protect the Hershey’s Children, Inc.’s

inadequate Rule 30(b)(6) witness.




                                                                Conner, C.J.
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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE ELLEN                  :
BARTELS AND FREDERICK L. BARTELS, JR.,                  :
Individually and as Administrators of the Estate of     :
Abrielle Kira Bartels, Deceased,                        : C.A. NO.: 1:16-cv-2145-
                                          Plaintiffs,   : CCC
                         vs.                            :
                                                        :
THE MILTON HERSHEY SCHOOL, et al.                       :
                                                        :
                                       Defendants.      :
                                                        :
                                                        :

 DEFENDANTS’ MOTION TO COMPEL COMPLIANCE WITH 30(B)(6)
DEPOSITION SUBPOENA AND FOR SANCTIONS AGAINST PROTECT
     THE HERSHEY’S CHILDREN, INC., F. FREDERIC FOUAD,
         ROYER COOPER COHEN BRAUNDFELD, LLC,
             AND ALEXANDER J. NASSAR, ESQ.

      Defendants, The Milton Hershey School, and The Hershey Trust Company

(“Trust”), as Trustee of the Milton Hershey School Trust (collectively

“Defendants”) move under Federal Rule of Civil Procedure 37 to compel

compliance with a deposition subpoena issued to non-party entity, Protect the

Hersheys’ Children, Inc. (“PHC”) pursuant to Rule 30(b)(6) and for sanctions

against Protect the Hershey’s Children, Inc., F. Frederic Fouad, Royer Cooper

Cohen Braundfeld, LLC, and Alexander J. Nassar, Esq. For the reasons set forth in

the accompanying Memorandum of Law, which is incorporated herein by

reference, Defendants respectfully request that the Court grant this Motion and
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require non-party PHC to produce an adequate corporate representative, namely F.

Frederic (“Ric”) Fouad (“Fouad”) to be deposed on the topics previously

delineated in the Notice of Deposition on a mutually agreed upon date at a place

within the Middle District that is within 100 miles of F. Frederic Fouad’s residence

pursuant to Rule 45. Defendants further request that this Court sanction Protect the

Hershey’s Children, Inc., F. Frederic Fouad, Royer Cooper Cohen Braundfeld,

LLC, and Alexander J. Nassar, Esq for their willful noncompliance with the

deposition subpoena and order them to pay Defendants’ costs and fees associated

with this filing, as well as Defendants’ costs and fees associated with the July 13,

2017 deposition of Protect the Hershey’s Children, Inc.’s inadequate Rule 30(b)(6)

witness.



Dated: August 1, 2017                   Respectfully submitted,

                                       ELLIOTT GREENLEAF, P.C.

                                       By: /s/ Jarad W. Handelman
                                       Jarad W. Handelman
                                       Kyle M. Elliott
                                       17 N. Second Street, Suite 1420
                                       Harrisburg, PA 17101
                                       717.307.2600 (phone) / 717.307.2060
                                       (fax)
                                       215.977.1000 (phone) / 215.977.1099
                                       (fax)
                                       jwh@elliottgreenleaf.com
                                       kme@elliottgreenleaf.com


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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE ELLEN                  :
BARTELS AND FREDERICK L. BARTELS, JR.,                  :
Individually and as Administrators of the Estate of     :
Abrielle Kira Bartels, Deceased,                        : C.A. NO.: 1:16-cv-2145-
                                          Plaintiffs,   : CCC
                         vs.                            :
                                                        :
THE MILTON HERSHEY SCHOOL, et al.                       :
                                                        :
                                       Defendants.      :
                                                        :
                                                        :

     DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
     MOTION TO COMPEL COMPLIANCE WITH 30(B)(6) DEPOSITION
                 SUBPOENA AND FOR SANCTIONS
       Defendants, The Milton Hershey School, and The Hershey Trust Company

(“Trust”), as Trustee of the Milton Hershey School Trust (collectively

“Defendants”) move under Federal Rule of Civil Procedure 37 to compel

compliance with a deposition subpoena issued to non-party entity, Protect the

Hersheys’ Children, Inc. pursuant to Rule 30(b)(6), and for sanctions against

Protect the Hershey’s Children, Inc., F. Frederic Fouad, Royer Cooper Cohen

Braundfeld, LLC, and Alexander J. Nassar, Esq.

I.     INTRODUCTION
       For the past twenty (20) years, F. Frederic Fouad (“Fouad”) has

implemented a written strategy of initiating “serial lawsuits” intended to coerce

MHS to change its mission and policies, including making him a Board member.
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(See Ex. “1”, at 7.) (emphasis added) He implements his attacks upon Defendants,

its leadership, and various public officials through a sham 501(c)(3) non-profit

known as Protect the Hershey’s Children, Inc. (“PHC”) that he created and alone

controls. PHC’s registered office is at the Dilworth Paxson LLP (“Dilworth”) law

firm in Philadelphia, not coincidentally the same law firm who represents the

plaintiffs in this action, and a related action, Dobson v. Milton Hershey School, et

al., No. 1:16-cv-1958-CCC (M.D. Pa.) (the “Dobson” case).

      Beyond Fouad himself and some names he lists as officers, PHC consists of

a letterhead, which Fouad routinely uses through the PHC’s website to issue “press

releases” and circulate petitions and like marketing materials, attacking the

Defendants and demanding investigations by every manner of authority, and a

website and social media accounts (www.protecthersheychildren.org), all of which

Fouad uses to disseminate anti-MHS propaganda and promote his own theories as

to what is wrong with MHS and its leadership. The PHC propaganda machine is

the hook – seeking to lure disgruntled students and their families to contact Fouad

– encouraging grievances and recruiting complainants against the School. Each

contact Fouad cultivates through PHC is a potential litigant in his “serial lawsuits”

plan. However, Fouad does not, and never intends to, serve as counsel for any of

the individuals he solicits or attracts through the PHC website. Instead, Fouad

siphons information from them and funnels them to Dilworth and others.


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      The hallmark of PHC manufactured lawsuits, like the Wartluft and Dobson

cases, are scandalous and inflammatory allegations - that are typically as dubious

as they are absurd1 - to generate media coverage for his policy change agenda

designed to force MHS to change its mission and policies, including making Fouad

a member of the MHS Board. Fouad has unsuccessfully pursued this plan for the

better part of two decades.2 Fouad, through PHC, has hypothesized the legal

theories of the cases before they ever materialize.


1
  Fouad’s practice of sponsoring prolix pleadings to gratuitously defame the School
and its leadership has not escaped the notice of the judiciary. In a description of
Fouad’s unmistakable style that reflects the essence of the many pleadings he has
theorized, Judge Morgan of the Court of Common Pleas of Dauphin County
observed:

             The Petition filed by the [MHSAA] has 68 pages and
             contains 253 paragraphs. It is less of a pleading than a
             diatribe deploring the manner in which the former
             Trustees/Managers, exercising their discretion, have
             handled Trust real estate and MHS management. It
             impugns the integrity of the Attorney General and
             insultingly disparages the new Board.

In re Milton Hershey School, No. 712, Year of 1963, (Dauphin County Court of
Common Pleas, Orphans’ Court Division, Nov. 19, 2003); see also Escudero-
Aviles v. Milton Hersey School, Civil N. 1:11-CV-1858, 2011 U.S. Dist. LEXIS
151859, at *3 (M.D. Pa. Dec. 5, 2011) (“This amended complaint is a 45-page,
285-paragraph pleading, which is accompanied by 78 pages of exhibits. While a
longer document than the initial complaint, the amended complaint is in some
ways less factually detailed than the original complaint.”).
2
    For example, when questioned in her deposition in the Wartluft matter
concerning the averments of her 84 page, 253 paragraph Amended Complaint,
Plaintiff Julie Wartluft repeatedly referred Defendants’ counsel to the PHC website
                                          3
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      Indeed, the creation of a local and national “media blitz” is an admitted

component of Fouad’s strategy. (See Ex. “1” at pg. 8.) Fouad’s preferred media

vehicle is Bob Fernandez (“Fernandez”) of the Philadelphia Inquirer.

      Fouad has referred to Fernandez and his Hershey-related “series” as a “game

changer” in his crusade against the School and to advance his radical policy

agenda. (See F. Frederic Fouad, Making Bitter Chocolate Sweet: The Milton

Hershey School’s Past and Hoped for Future, Speech at Harvard Law School, at

1:05:40-50 (Oct. 29, 2013), available at http://cap.law.harvard.edu/making-bitter-

chocolate-sweet-the-milton-hershey-schools-past-and-hoped-for-future-oct-29-

2013/.) In turn, Fernandez, in his own attack against Defendants, authored a book

entitled “The Chocolate Trust: Deception, Indenture and Secrets at the $12 Billion

Milton Hershey School,” in which he acknowledges that the book would not have

been possible without the “alumni rebellion” fostered by Fouad and others against

the Defendants. (See Bob Fernandez, The Chocolate Trust, at “Acknowledgments”

(Camino Books, Inc. 2015.))       Unsurprisingly, the PHC website prominently

features on its homepage a link to Fernandez’s articles attacking MHS and

publicizing the lawsuits that Fouad and PHC promote.



for the identity of potential witnesses who could support the allegations, but she
could not name, as well as for a greater understanding of material legal and factual
theories espoused in the Amended Complaint, the same source from which she
learned of them.
                                         4
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       The Fouad to Fernandez pipeline is very much active. In the Wartluft action,

a witness testified that Fouad connected the witness – then a minor – with

Fernandez. Fouad told the witness that Fernandez was “a reporter that [he] works

with” and who helps him “get the mission across against Milton Hershey.” (Ex.

“2”, N. Hatfield Dep. Tr., at 74:8-14.) Emails produced in the Wartluft action by

the said witness further confirm Fernandez’s solicitation of MHS-related

information from the individual following the introduction by Fouad. (See Ex.

“3”.) In response to this testimony, MHS took action and banned Fouad from

campus. (See Ex. “4”.)

II.    FACTUAL BACKGROUND
       A.    PHC Fails to Produce an Adequate Corporate Designee.
       Defendants served PHC with a subpoena and notice of deposition on June

20, 2017 to appear for a Rule 30(b)(6) deposition of a corporate designee

scheduled for July 13, 2017. (See Ex. “5”.) On or about July 10, 2017, Fouad

(acting as attorney for PHC) filed an ex parte motion to quash the PHC subpoena

in the United States District Court for the Southern District of New York, despite

the place of compliance of the subpoena being the Eastern District of Pennsylvania

and the issuing Court being the Middle District of Pennsylvania. On July 11, 2017

the Southern District of New York dismissed that motion for lack of jurisdiction.

After the Court’s dismissal, Fouad and the PHC chose not to challenge the 30(b)(6)

subpoena in the Middle or Eastern Districts of Pennsylvania.

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      Accordingly, the deposition of Michael Kronenberg, a corporate designee of

PHC, took place on July 13, 2017. Mr. Kronenberg’s testimony confirmed that

Fouad chose him as the PHC corporate representative on July 9, 2017 – the day

before the filing of Fouad’s Motion to Quash the deposition in the Southern

District of New York, including a Supplemental Declaration dated July 10, 2017.

(See Ex. “6”, M. Kronenberg Dep. Tr., at 28:2-29:7, 38:2-3.)           Fouad never

disclosed the designation of Mr. Kronenberg in his Motion, instead intentionally

misleading the Southern District of New York that he was the deponent for PHC.

Mr. Kronenberg’s testimony belies Fouad’s assertion that his testimony on behalf

of PHC would violate attorney-client privilege. Indeed, Mr. Kronenberg explicitly

testified that “if [Fouad] is posting on the [PHC] website or posting…with [PHC],

that it's for [PHC], not his capacity as an attorney.”          (Id. at 26: 21-24.)

Nonetheless, Fouad’s prolific public disclosures and publications through PHC

would surely constitute a waiver of any alleged attorney-client privilege.3

      On July 11, 2017, Judge Sullivan properly dismissed Fouad’s Motion to

Quash the Rule 30(b)(6) Deposition Subpoena for lack of jurisdiction. In response,

Fouad decided not to file a Motion to Quash the 30(b)(6) deposition in

3
  Fouad posts virtually everything he knows about the Wartluft and Dobson cases
on and through the PHC website, information that is publicly accessible by anyone
accessing the PHC website or social media platforms – all without any password
protection or other accessibility permission required. (See Ex. “6”, M. Kronenberg
Dep. Tr., at 241-45.) As Mr. Kronenberg testified, “it's entirely open. You could
look at anything that's written there for years and years.” (Id. at 245:3-5.)
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Pennsylvania and litigate the privilege issues he had improperly raised in the

SDNY Motion, but instead opted to produce an inadequate 30(b)(6) designee, Mr.

Kronenberg.

      For his part, Mr. Kronenberg is a self-described Fouad-PHC “supporter,”

having no qualifications for the position of Treasurer other than having posted on

the PHC website for several years and believing Fouad’s PHC propaganda. He

testified that he became PHC’s Treasurer in 2016, but is still transitioning into the

position, working with the former Treasurer, Ken Brady, who is in his late 90s, and

lives in Maryland. (Id. at 72:16-78:16, 21:11-13.) Mr. Kronenberg is a high

school and college drop-out, who attended MHS for one year. (Id. at 12:17-24.)

He has not filed personal federal or state tax returns in several years. (Id. at

173:16-17.) He testified that the PHC is a “loose organization” with no members,

just supporters like Mr. Kronenberg himself. (Id. at 63:22-64:4.)

      Mr. Kronenberg’s testimony confirmed that Fouad created and controls

PHC. Mr. Kronenberg knew little to nothing about PHC and the information

broadcast on its website about this case. He did not know who the Secretary is,

and has never seen minutes of any PHC meeting, all of which are conducted by

telephone conference calls randomly scheduled by Fouad. (Id. at 79:5-11, 82:7-

24.) Kronenberg repeatedly testified that Fouad controls the PHC website (id.

96:1-12, 146:7-16): “Fouad is the only person who has access to be able to post or


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who removes posts from our Facebook page”; “Mr. Fouad is able to post for

[PHC]. He is the only one individual who can do that.” (Id. at 184:12-16.)

(emphasis added) In addition, all calls to the PHC website’s area code “717”

Central Pennsylvania phone number are routed to Fouad in New York. No one

other than Fouad answers that phone number. (Id. at 61:13-62:9.) Tellingly, Mr.

Kronenberg also testified: “Fouad talks to the media a lot on behalf of PHC.” (Id.

at 235:2-4.)

      The 30(b)(6) deposition demonstrated           Fouad’s    ongoing    discovery

obstruction and misrepresentations to the federal courts, in violation of Rule 3.3 of

the Pennsylvania Rules of Professional Conduct, as Mr. Kronenberg consistently

testified that he had no knowledge whatsoever of any of PHC’s publications and/or

public statements – information that could only be gleaned, according to Mr.

Kronenberg, from Fouad himself. (See id. at 138:9-139:15, 141:7-23, 142:8-17,

143:10-144:5, 146:17-147:6, 148:7-12, 154:3-18, 157:4-11, 162:11-18, 179:17-

180:10, 182:7-184:6, 191:9-13, 192:9-18, 193:3-21, 201:2-5, 202:3-23, 213:8-

214:9, 256:3-8, 278:18-22.) Mr. Kronenberg repeatedly responded to questions

concerning the content of the PHC website and social media platforms, including

linked PHC publications and writings, with “you would have to ask Ric.” (Id. at

141:21-23, 147:3-6, 148:7-12, 154:17-18, 157:8-11, 162:16-18, 180:3-10, 184:4-6,

191:11-13, 192:13-18, 193:10-21, 201:4-5, 202:22-23, 214:5-9.) (emphasis added)


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Mr. Kronenberg repeatedly identified Fouad as the author of PHC writings and

publications in which the Wartluft and Dobson cases were described and discussed,

including, but not limited to endless PHC website and social media posts, the

content of the Change.org petition, the PHC White Paper, PHC Essay, and letters

to various authorities.   (Id.; see also id. at 138:9-139:21, 141:21-23, 229:18-

233:16.) Tellingly, Mr. Kronenberg testified that he had never reviewed the list

of properly noticed deposition topics prior to the deposition. (Id. at 15:3-22.)

      Mr. Kronenberg’s lack of preparation resulted in him responding “I don’t

know” to more than twenty-five (25) questions. (Id. at 62:8-9, 62:23, 64:11, 79:3,

79:7, 81:15, 84:19-22, 114:24-115:3, 156:15, 193:13-17, 204:8, 207:4, 214:5-9,

215:4-5, 215:11, 215:18, 219:23-220:2, 222:16, 222:19, 222:22, 223:1, 223:4,

223:7, 255:5-6, 264:18, 281:2, 285:17.)       It appears that the only thing Mr.

Kronenberg did know was that Defendants “would have to ask Ric” in order to

discover any information concerning PHC. (Id. at 141:21-23, 147:3-6, 148:7-12,

154:17-18, 157:8-11, 162:16-18, 180:3-10, 184:4-6, 191:11-13, 192:13-18, 193:10-

21, 201:4-5, 202:22-23, 214:5-9.) (emphasis added).

      B.     Fouad’s “Advocacy” Efforts Are Performed in His Role as
             President of PHC, Not as an Attorney.
      Fouad serves as President and founder of PHC, a nonprofit organization with

a registered address at Dilworth’s Philadelphia office. According to its website,

PHC’s reform goals include: “ending MHS Board conflicts of interest; barring

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leadership self-enrichment; stopping misdirection of assets; removing partisan

politics from all decisions; ending poor child welfare policies; hiring and

promotion of MHS leaders on the basis of merit; and creating an MHS Board

whose core consists of child welfare professionals.” (See Ex. “7”.)

      Fouad has not acted as an attorney, and has not entered his appearance in

any of his contrived litigations. To the contrary, Fouad has made prolific public

statements concerning this case, which are available through the PHC website, and

have been disseminated broadly – and without objection by Plaintiffs – by Fouad

in his capacity as President of PHC through PHC social media and other numerous

publications.   PHC’s 30(b)(6) corporate designee, Mr. Kronenberg, further

confirmed that only one person within PHC had knowledge of those matters: Ric

Fouad. (See Ex. “6”, M. Kronenberg Dep. Tr., at 138:9-139:21, 141:21-23, 147:3-

6, 148:7-12, 154:17-18, 157:8-11, 162:16-18, 180:3-10, 184:4-6, 191:11-13,

192:13-18, 193:10-21, 201:4-5, 202:22-23, 214:5-9, 229:18-233:16.) Importantly,

when Fouad posts on the PHC website and Facebook page, “it’s for PHC, not his

capacity as an attorney.” (See id. at 26:23-24.) (emphasis added)

      If Fouad truly was the attorney for Plaintiffs, his use of the PHC website, as

well as Fouad’s use of the media to advance his causes, would be flagrant

violations of Rule 3.6 of the Pennsylvania Rules of Professional Conduct.




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      C.    Fouad and/or PHC Is Directly Responsible For The Allegations In
            the Amended Complaint
      Both Dobson and Wartluft stem from a long-standing and mutually

beneficial alliance formed between Fouad and Dilworth. Dilworth represents the

plaintiffs in both the Dobson and Wartluft cases filed against Defendants. As is the

custom, Dilworth is counsel, but Fouad is not. (See Ex. “8” and “9”.) Their

relationship is mutually beneficial. Dilworth gets clients, while Fouad advances

his agenda by notifying authorities of the law suits, and publicizing them through

his PHC website, social media postings, and partnership with the media.

      The crux of Plaintiffs’ claims in in the instant action allege that MHS

engaged in a systematic pattern of discrimination by implementing a “shadow

policy” whereby MHS would expel students who were hospitalized at an outside

mental health institution on more than one occasion. The Plaintiffs refer to this

purported “shadow policy” as the “two-hospitalization rule.” (See Ex. “10” at ¶¶

108, 111, 112, 168.)

      A comparison of the Dobson and Wartluft Amended Complaints with prior

publications by PHC and Fouad leaves no doubt that Fouad and PHC supplied the

essential allegations and legal theories to Plaintiffs in both cases. (See Ex. “11”)

In fact, in the Wartluft case, Plaintiff Julie Wartluft confirmed that these

allegations and legal theories derived from PHC and Fouad. (See Ex. “12,” J.

Wartluft Dep. Tr., at 42:23-43:15, 44:12-45:3, 45:18-46:7, 158:10-159:19, 164:24-

                                        11
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166:13; see also Ex. “13”.) Thus, the essential factual allegations, which form the

heart of Plaintiff’s claims, are not verifiable by anyone other than Fouad. To the

extent any portion of them was derived from conversations between Fouad and any

plaintiff, it was not in Fouad’s capacity as a lawyer, but rather in his role of PHC

zealot and MHS antagonist. To the extent Fouad claims privilege over any such

communications, any confidence or privilege alleged to have attached has long

been waived by Fouad’s prolific publication of same

III.    ARGUMENT
        A.    Legal Principles
        Rule 16(c) affords the supervisory court in the Middle District of

Pennsylvania with broad authority to “take appropriate action” with respect to “the

formulation and simplification of the issues,” “the control and scheduling of

discovery,” “the need for adopting special procedures for managing potentially

difficult or protracted actions,” and “such other matters as may facilitate the just,

speedy, and inexpensive disposition of the action.” Fed.R.Civ.P. 16(c)(1), (6),

(12), (16). The issues raised in this motion concerning PHC and Fouad and, in

particular, Fouad’s assertion of privilege in objecting to his deposition raises issues

that are likely to recur in this litigation and which are properly and efficiently

decided by the trial court in the Middle District of Pennsylvania. Indeed, in

Fouad’s pending Motion to Quash in the Southern District of New York,



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Defendants have requested that the Court transfer all proceedings concerning that

motion to this Court so that this Court can efficiently rule on these issues.

      B.     Mr. Kronenberg’s Testimony Establishes that Fouad Is the Only
             Possible Designee Who Can Adequately Testify on Behalf of PHC.
      Once a party notices a deposition pursuant to Federal Rule of Civil

Procedure 30(b)(6), the noticed entity has “a duty to make a conscientious, good-

faith effort to designate knowledgeable persons for Rule 30(b)(6) depositions and

to prepare them to fully and unevasively answer questions about the designated

subject matter.” Black Horse Lane Assocs., Ltd. P'ship v. Dow Chem. Corp., 228

F.3d 275, 303 (3d Cir. 2000) (quoting Starlight Int'l Inc. v. Herlihy, 186 F.R.D.

626, 639 (D. Kan. 1999)). This is because if an entity does not adequately prepare

a Rule 30(b)(6) witness, “the purpose of the deposition is completely undermined,”

State Farm Mut. Auto. Ins. Co. v. New Horizont, Inc., 250 F.R.D. 203, 216 (E.D.

Pa. 2008), and it is “tantamount to a failure to appear,” Black Horse Lane, 228

F.3d at 303. See also Constellation NewEnergy, Inc. v. Powerweb, Inc., No. 02-

2733, 2004 U.S. Dist. LEXIS 15865, at *6-18 (E.D. Pa. Aug. 10, 2004) (finding

designee “failed to appear in a meaningful way” for 30(b)(6) deposition); Guy

Chem. Co. v. Romaco N.V., No. 3:06-96, 2007 U.S. Dist. LEXIS 4287, at *33

(W.D. Pa. Jan. 22, 2007) (holding that a 30(b)(6) deponent’s “complete inability to

‘fully, completely, [and] unevasively’ respond” to a “handful” of questions that



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were properly noticed, “constitutes a violation of the discovery principles

articulated in the federal rules.”)

      Accordingly, the “[i]nadequate preparation of a Rule 30(b)(6) designee can

be sanctioned based on the lack of good faith, prejudice to the opposing side, and

disruption of the proceedings.” Black Horse Lane, 228 F.3d at 303; see also In re

Neurontin Anitrust Litig., No. 02-1390, 2011 U.S. Dist. LEXIS 62032, at *28-30

(adopting report and recommendation of sanctions for producing unprepared

corporate designee).

      Here, as explained supra in Parts II.A–C, PHC disregarded its obligations

under Rule 30(b)(6) and produced an inadequate, “sham” corporate designee.

Indeed, the only reasonable conclusion that can be drawn from a reading of Mr.

Kronenberg’s deposition transcript is that PHC wholly failed to make a “good-faith

effort to designate [a] knowledgeable person[].” Black Horse Lane, 228 F.3d at

303. Most telling is Mr. Kronenberg’s admission that he had not even reviewed

the properly noticed Rule 30(b)(6) deposition topics before appearing at the

deposition on July 13, 2017. (Ex. “6”, Mr. Kronenberg Dep. Tr., at 15:3-22.)

      Mr. Kronenberg lack of preparation resulted in Mr. Kronenberg responding

“I don’t know” throughout the deposition. (Id. at 62:8-9, 62:23, 64:11, 79:3, 79:7,

81:15, 84:19-22, 114:24-115:3, 156:15, 193:13-17, 204:8, 207:4, 214:5-9, 215:4-5,

215:11, 215:18, 219:23-220:2, 222:16, 222:19, 222:22, 223:1, 223:4, 223:7, 255:5-


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6, 264:18, 281:2, 285:17.) In fact, the only thing that Mr. Kronenberg did know

was that Defendants would need to “ask Ric” in order to find out this information.

(Id. at 141:21-23, 147:3-6, 148:7-12, 154:17-18, 157:8-11, 162:16-18, 180:3-10,

184:4-6, 191:11-13, 192:13-18, 193:10-21, 201:4-5, 202:22-23, 214:5-9.)

       Simply put, although Mr. Kronenberg appeared in person, his lack of

knowledge and preparation “completely undermined” the purpose of the deposition

and was “tantamount to a failure to appear.” See State Farm Mut. Auto Ins. Co.,

250 F.R.D. at 216; Black Horse Lane, 228 F.3d at 303. Accordingly, this Court

should grant Defendants’ motion.

IV.    RELIEF
       For all the foregoing reasons, Defendants respectfully request that this Court

grant Defendants Motion to Compel and/or for Sanctions, compel PHC to

designate F. Frederic Fouad to appear as PHC’s 30(b)(6) corporate designee and

testify on the topics previously delineated in the Notice of Deposition, and sanction

Protect the Hershey’s Children, Inc., F. Frederic Fouad, Royer Cooper Cohen

Braundfeld, LLC, and Alexander J. Nassar, Esq, ordering them to pay the costs and

fees associated with this filing,, as well as Defendants’ costs and fees associated

with the July 13, 2017 deposition of Protect the Hershey’s Children, Inc.’s

inadequate Rule 30(b)(6) witness.




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                                   Respectfully submitted,

                                   ELLIOTT GREENLEAF, P.C.

                                   By: /s/ Jarad W. Handelman
                                   Jarad W. Handelman
                                   Kyle M. Elliott
                                   17 N. Second Street, Suite 1420
                                   Harrisburg, PA 17101
                                   717.307.2600 (phone) / 717.307.2060
                                   (fax)
                                   215.977.1000 (phone) / 215.977.1099
                                   (fax)
                                   jwh@elliottgreenleaf.com
                                   kme@elliottgreenleaf.com
Dated: August 1, 2017




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                 CERTIFICATE OF NON-CONCURRENCE

      Undersigned counsel certifies that opposing counsel indicated at the time of

the deposition underlying this matter that counsel would be required to file a

motion to compel to address the issues raised herein.      Since the time of the

deposition there has been no indication that counsel’s position has changed and the

subject entity has confirmed in other court filings that the concomitant deponent

identified herein will not testify. Accordingly, opposing counsel and the subject

entity do not concur with the instant motion.

                                        Respectfully submitted,


                                         /s/ Jarad W. Handelman, Esquire
                                        Jarad W. Handelman, Esquire
                                        (PA 82629)
                                        Kyle M. Elliott, Esquire
                                        (PA 306836)
                                        Elliott Greenleaf, P.C.
                                        17 N. Second Street, Suite 1420
                                        Harrisburg, PA 17101
                                        717.307.2600 (phone)
                                        717.307.2060 (fax)
                                        jwh@elliottgreenleaf.com
                                        kme@elliottgreenleaf.com
                                        Counsel for Defendants
Dated: August 1, 2017
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                        CERTIFICATE OF SERVICE

      I, Jarad M. Handelman, Esquire, hereby certify that I caused the foregoing to

be served via U.S. first class mail and electronic mail on all counsel of record,

including:

                            Alexander J. Nassar, Esq.
                               Two Logan Square
                         100 N. 18th Street - Suite 710
                        Philadelphia, Pennsylvania 19103
                                 (267) 546-0274
                             anassar@rccblaw.com
                        Counsel for Michael Kronenberg

                          Gregory F. Cirillo, Esquire
                            John J. Higson, Esquire
                             Dilworth Paxson LLP
                        1500 Market Street, Suite 3500E
                            Philadelphia, PA 19102
                             215.575.7000 (phone)
                           gcirillo@dilworthlaw.com
                          jhigson@dilworthlaw.com
                             Counsel for Plaintiffs

                               F. Frederick Fouad
                               301 West 57th Street
                                    Apt. 44B
                              New York, NY 10019
                              ricfouad@gmail.com


                                            /s Jarad M. Handelman
                                            Jarad M. Handelman, Esquire


Dated: August 1, 2017
